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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NHC LLC,                                  )
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )             Case No. 19 C 6332
                                          )
CENTAUR CONSTRUCTION CO.,                 )
SPIRO TSAPARAS, and PETER                 )
ALEXOPOULOS,                              )
                                          )
                     Defendants.          )

                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       NHC LLC obtained a judgment against Centaur Construction Co., Inc., Spiro

Tsaparas, and Peter Alexopoulos. To attempt to collect the judgment, NHC has served

numerous citations to discover assets under 735 ILCS 5/2-1402. The direct citation

served upon Mr. Tsaparas contained a restraining provision that prohibited him from

transferring any non-exempt assets. NHC has moved the Court to order Mr. Tsaparas

to show cause why he should not be held in contempt based on his repeated

unaccounted-for transfers of assets after service of the citations.

       For the following reasons, the Court grants NHC's motion and finds Mr. Tsaparas

in civil contempt of court. The Court also grants the following relief: (a) Mr. Tsaparas

must pay to NHC, within 14 days of this order, the additional amounts detailed in US

Bank records that were transferred in violation of the citation; (b) any otherwise

permitted cash transactions must be supported by contemporaneous receipts that must

be provided with Mr. Tsaparas's monthly accounting; (c) he must pay the balance of the
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judgment in monthly installments in the amount of at least $25,000; (d) he must pay

NHC's reasonable attorneys' fees incurred in preparing and arguing this motion; (e) his

bank account ending in 8753 and his Venmo account @Tsaparas are hereby frozen

pending further order by the Court; (f) he must disclose and account for, by no later than

14 days from entry of this order, all cash transactions for himself and/or Centaur from

January 1, 2019 to the present; and (g) he must turn over all cash withdrawn in violation

of the citation since he was served with it, by no later than 14 days from entry of this

order.

                                        Background

         NHC LLC obtained a judgment of over $22 million against an entity, Centaur

Construction Co., Inc., and its principals, Spiro Tsaparas and Peter Alexopoulos. The

judgment is on appeal. The defendants, however, did not post a bond and did not

obtain a stay pending appeal. As a result, NHC has proceeded with collection-related

activity before this Court. This largely has involved the service of citations to discover

assets as well as extensive discovery to attempt to find assets of the defendants.

         On May 5, 2023, NHC served a citation to discover assets on Mr. Tsaparas. The

citation contained the following restraining language:

         YOU ARE PROHIBITED from making or allowing any transfer or other
         disposition of, or interfering with, any property not exempt from execution
         or garnishment belonging to the judgment debtor or to which the judgment
         debtor may be entitled or which may be acquired by or become due to the
         judgment debtor and from paying over or otherwise disposing of any
         money not so exempt, which is due or becomes due to the judgment
         debtor, until further order of court or termination of the proceedings. You
         are not required to withhold the payment of any money beyond double the
         amount of the judgment.

Pl./J. Creditor’s Mot. at 1.



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       On March 5, 2024, NHC moved for a turnover order regarding Mr. Tsaparas

based on several instances in which it alleged he had violated the restraining provision

of the citation by transferring roughly $400,000 in assets. During an April 23, 2024

hearing on the motion, the Court concluded that these transfers amounted to Mr.

Tsaparas "commit[ting] contempt of court about three dozen times." Tr. of Proceedings,

April 23, 2024, at 7–8.

       In the following couple months, NHC continued to receive documents from third

parties indicating that Mr. Tsaparas had violated the citation by transferring around

$71,000 in assets. NHC thus filed on June 21, 2024 a motion for rule to show cause

regarding why Mr. Tsaparas should not be held in contempt again. The Court ruled on

this motion in July 2024, finding that these transfers also amounted to contempt of

court. NHC LLC v. Centaur Constr. Co., No. 19 C 6332, 2024 WL 3398332, at *5–6

(N.D. Ill. July 12, 2024).

       To remedy these citation violations, the Court ordered Mr. Tsaparas to abide by

additional monthly requirements. First, the Court directed Mr. Tsaparas to make

monthly installment payments of $25,000 until the amount of funds found impermissibly

transferred was paid in full. Second, the Court required Mr. Tsaparas "to file with the

Court on the 10th of each month . . . an accounting under penalty of perjury listing his

monthly income and expenditures, as well as his assets at current market value"

starting in August 2024. Id. at *2.

       The deadline for Mr. Tsaparas’s first accounting—August 10, 2024—came and

went without any filings. NHC thus moved to again hold Mr. Tsaparas in contempt. On

August 23, 2024, Mr. Tsaparas submitted an accounting listing his monthly income and



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expenditures. Although the accounting should have listed income and expenditures

dating back to July 11, 2024 (i.e., one full month before the August 10 accounting

deadline), it only listed income and expenditures back to July 16, 2024. The accounting

also failed to list his current assets as required by the Court’s order.

       The Court gave Mr. Tsaparas until September 3, 2024 to supplement his filing

with a list of current assets. Mr. Tsaparas filed a statement of assets on September 3,

noting that he had "not acquired any additional assets or personal property valued at

over $500 since November 13, 2023." Pl./J. Creditor’s Mot. at 8.

       Documents that NHC received from US Bank called into doubt the veracity of

these disclosures. Specifically, US Bank records indicate that between June 14, 2024

and August 21, 2024, Mr. Tsaparas withdrew over $35,000 in cash from his US Bank

account. These withdrawals were not disclosed in Mr. Tsaparas’s accounting. A

particularly significant withdrawal—$7,000—occurred on July 12, 2024, which was one

of the dates absent from Mr. Tsaparas’s initial accounting.

       Mr. Tsaparas’s next accounting had additional omissions. Although the deadline

for the second accounting was September 10, 2024, Mr. Tsaparas again failed to file on

that date. After NHC again moved to show cause why he should not be held in

contempt, Mr. Tsaparas filed the accounting on September 26, 2024. As with the first

accounting, later-acquired US Bank records indicate that Mr. Tsaparas omitted a major

transfer—an over-$10,000 exchange in foreign currency on August 21, 2024. A similar

foreign currency exchange of over $1,600 occurred on December 3, 2024. Like the

previous transfers, this transfer was not disclosed on any of Mr. Tsaparas’s

accountings.



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       When all of the unaccounted-for transfers are added up, it appears that Mr.

Tsaparas has made, and failed to disclose, more than $142,000 in personal cash

withdrawals. This is in addition to the undisclosed cash withdrawals that Mr. Tsaparas

caused as principal of Centaur, which total more than $1.2 million.

       NHC has now moved the Court to order Mr. Tsaparas to show cause why he

should not be held in contempt for these undisclosed transfers.

                                        Discussion

       Rule 69 of the Federal Rules of Civil Procedure requires proceedings to execute

a money judgment to "accord with the procedure of the state where the court is

located." Fed. R. Civ. P. 69(a)(1). Accordingly, the Court proceeds under Illinois law.

       "In Illinois, 735 ILCS 5/2-1402 and Illinois Supreme Court Rule 277 govern

supplementary proceedings." Shales v. T. Manning Concrete, Inc., 847 F. Supp. 2d

1102, 1111 (N.D. Ill. 2012). Citations to discover assets are one such proceeding, in

which a judgment creditor serves a citation "to discover the assets of a judgment debtor

or third party and apply those assets to satisfy the judgment." Gibbons v. Kowal,

2024 IL App (1st) 232124, ¶ 27 --- N.E.3d ---; 735 ILCS 5/2-1402. A citation may

contain a "restraining provision," prohibiting a party from transferring, disposing, or

interfering with "any property not exempt from the enforcement of a judgment . . .

belonging to the judgment debtor" as well as property the judgment debtor "may be

entitled to." 735 ILCS 5/2-1402(f)(1). Illinois law allows a court to “punish any party

who violates the restraining provision of a citation" for contempt. Id.; see also Ill. S. Ct.

R. 277(h) (allowing a court to punish a party "who fails to obey a citation" with contempt

of court).



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      "To succeed on a contempt petition," the moving party must "demonstrate by

clear and convincing evidence that the respondent has violated the express and

unequivocal command of a court order." FTC v. Trudeau, 579 F.3d 754, 763 (7th Cir.

2009). This requires showing four elements: "(1) a court order sets forth an

unambiguous command; (2) the alleged contemnor violated that command; (3) the

violation was significant, meaning the alleged contemnor did not substantially comply

with the order; and (4) the alleged contemnor failed to make a reasonable and diligent

effort to comply." SEC v. Hyatt, 621 F.3d 687, 692 (7th Cir. 2010). As Rule 277

indicates, the failure to abide by the unambiguous commands of a citation to discover

assets can be grounds for contempt. See W. Bend Mut. Ins. Co. v. Belmont State

Corp., No. 09 C 354, 2010 WL 5419061, at *13 (N.D. Ill. Dec. 23, 2010).

      Mr. Tsaparas's repeated unaccounted-for transfers of assets blatantly

disregarded this Court's unambiguous commands. The transfers violated the citation's

restraining provision, which commands Mr. Tsaparas not to "transfer" or "dispose" of

any non-exempt assets he maintains. And by not disclosing these transfers in his

monthly accountings, Mr. Tsaparas further violated this Court's clear order to disclose

his monthly income, expenditures, and assets. See Centaur Constr. Co., 2024 WL

3398332, at *2.

      Mr. Tsaparas does not attempt to justify—or even dispute—these violations.

Instead, he contends that contempt is not the proper remedy. According to Mr.

Tsaparas, NHC should have conducted a follow-up citation examination rather than

resort to a contempt motion.

      There is no requirement that NHC or this Court give Mr. Tsaparas further



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opportunities to disclose assets and transfers in compliance with this Court's orders.

The Court has given Mr. Tsaparas multiple opportunities to voluntarily disclose his own

assets. Yet Mr. Tsaparas has continually delayed filing financial disclosures and has

omitted important transfers from those disclosures. These violations amount to

contempt.

      Mr. Tsaparas also asserts that NHC was required to first request a contempt

hearing before moving for contempt. This is incorrect. Although NHC framed its motion

as for a rule to show cause, "a district court may treat a show-cause motion as a motion

for an order on the merits of the alleged contempt where doing so would not cause

prejudice—that is, when it would not violate the alleged contemner's right to notice and

an opportunity to be heard." Hyatt, 621 F.3d at 696. Through briefing on this motion,

Mr. Tsaparas has been given notice and an opportunity to be heard. And he has not

described what purpose a contempt hearing would serve. Mr. Tsaparas does not

dispute any of the transfers discussed above, which are the basis for contempt. NHC

has provided undisputed evidence that Mr. Tsaparas has violated the restraining

provision of the citation and this Court's accounting order by making undisclosed

transfers. No further hearing is required.

      Next, Mr. Tsaparas contends that the Court has already considered these

transfers and declined to find contempt "for miscellaneous and/or isolated transactions

such as 'money that is being paid to Pet Supplies Plus and Hollywood Feed.'" Defs.

Resp. at 5 (quoting Tr. of Proceedings, Sept. 30, 2024 at 19–20). Mr. Tsaparas

misconstrues this Court's past refusal to find contempt in several respects. First, the

existence of numerous transfers made between July 25, 2024 and December 27,



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2024—totaling $12,860—was not known to NHC or this Court before this motion. Only

when NHC received further documents from US Bank on February 6, 2025 did these

transfers become known.

       Second, the Court has never ruled that isolated transfers made in violation of a

citation cannot give rise to a contempt finding. As is clear from the context of the

quoted statement, when the Court last declined to find Mr. Tsaparas in contempt, it was

specifically referring to small, insignificant transfers akin to buying pet food. The

transfers raised in the present motion appear to be as large as $10,000—a difference in

kind from what the Court has found not contempt-worthy in the past.

       Third, these transfers do not appear to be isolated. If anything, the above facts

indicate a pattern in which Mr. Tsaparas transfers significant sums of money, delays his

accounting disclosures, and then fails to disclose certain transfers on those

accountings. Rather than isolated occurrences, these transfers are repeated violations

of the citation's restraining provision and this Court's accounting order, and they amount

to contempt of court.

       Lastly, Mr. Tsaparas argues that several aspects of NHC's requested relief are

improper. First, Mr. Tsaparas objects to any financial obligations, as he contends he

lacks the ability to pay any penalties. In support, he cites both this Court's prior

determination that he lacks financial capabilities and multiple state and federal tax liens.

       Although the Court did previously find Mr. Tsaparas lacked the ability to make

further payments based on his disclosures, it did so with the understanding that further

evidence could establish otherwise. See Tr. of Proceedings, Sept. 30, 2024 at 21–22.

These undisclosed transfers are sufficient evidence that Mr. Tsaparas has been and is



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financially capable of paying additional sums of money. The Court is simply no longer

able to credit Mr. Tsaparas's disclosures professing a lack of funds when those

disclosures have omitted multiple large, unaccounted-for transfers of assets.

       Nor do Mr. Tsaparas's tax obligations necessarily preclude him from making

further payments. Federal tax liens only take priority over a judgment lien in Illinois if

the federal lien was filed "first in time" with the local recording office. Durand State

Bank v. Earlywine, 286 Ill. App. 3d 210, 212, 675 N.E.2d 1028, 1030 (1997). Mr.

Tsaparas has not produced the documents required to show the federal tax lien takes

priority over NHC's judgment, despite NHC's attempts to have those documents

produced. See Pl./J. Creditor's Mot. to Compel Production of Tax Docs., Dkt. No. 671.

The Court cannot accept Mr. Tsaparas's claim that his tax obligations prevent further

payment without first seeing documentation establishing that the federal tax lien has

priority over NHC's judgment.

       Mr. Tsaparas also objects to NHC's request that the Court "forbid [him] from

using cash moving forward, unless he produces legitimate receipts for each permitted

transaction." Pl./J. Creditor's Mot. at 15 (emphasis omitted). First of all, Mr. Tsaparas

mischaracterizes this relief as requiring him to receive "prior written permission from

NHC." Defs. Resp. at 7. The requested relief would require approval for cash transfers

from the Court, not NHC. And considering Mr. Tsaparas's repeated cash transfers in

violation of the citation and this Court's accounting order, the Court finds this relief

proper.

       NHC's requested financial penalties and further oversight of Mr. Tsaparas's

transfers are appropriate to not only remedy these past violations, but also to prevent



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future unaccounted-for cash transfers. The Court therefore does not find NHC's request

for the issuance of a bench warrant and Mr. Tsaparas's jailing for civil contempt

necessary, at least not yet. The Court declines to so order at this time.

                                       Conclusion

       For the reasons stated above, the Court grants NHC's motion for a rule to show

cause [dkt. no. 592] and finds Mr. Tsaparas in civil contempt of court. The Court orders

the following relief against Mr. Tsaparas: (a) he must pay to NHC, within 14 days of this

order, the additional amounts detailed in US Bank records that were transferred in

violation of the citation; (b) any otherwise permitted cash transactions must be

supported by contemporaneous receipts that must be provided with Mr. Tsaparas's

monthly accounting; (c) he must pay the balance of the judgment in monthly

installments in the amount of at least $25,000; (d) he must pay NHC's reasonable

attorneys' fees incurred in preparing and arguing this motion; (e) his bank account

ending in 8753 and his Venmo account @Tsaparas are hereby frozen pending further

order by the Court; (f) he must disclose and account for, by no later than 14 days from

entry of this order, all cash transactions for himself and/or Centaur from January 1, 2019

to the present; and (g) he must turn over all cash withdrawn in violation of the citation

since he was served with it, by no later than 14 days from entry of this order. NHC

should submit to the Court, within 7 days of this order, what additional amounts detailed

in the US Bank records have been impermissibly transferred or dissipated that have not

already been addressed in prior contempt rulings.

Date: May 30, 2025
                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge


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